16-10992-smb          Doc 5631       Filed 11/21/18 Entered 11/21/18 11:07:56                      Main Document
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      UNITED STATES BANKRUPTCY COURT
      SOUTHERN DISTRICT OF NEW YORK

                                                            :
     In re:                                                 : Chapter 11
                                                            :
     SUNEDISON, INC., et al.,                               : Case No. 16-10992 (SMB)
                                                            :
                      Debtors.1                             : Jointly Administered
                                                            :
                                                            :

                             SUPPLEMENTAL AFFIDAVIT OF SERVICE

        I, Charles J. McCracken, depose and say that I am employed by Prime Clerk LLC (“Prime
 Clerk”), the claims and noticing agent for the Debtors in the above-captioned chapter 11 cases.

         On November 16, 2018, at my direction and under my supervision, employees of Prime
 Clerk caused the following document to be served by First Class Mail on SunFusion Solar
 Electric, Inc. (MMLID# 5865085), SunFusion Solar Electric, Inc., 9020 Kenamar Dr Ste 204,
 San Diego, CA, 92121-2431:

       •      SunEdison Litigation Trust’s Motion for Order Establishing Procedures Governing
              Adversary Proceedings [Docket No. 4741]

        On November 16, 2018, at my direction and under my supervision, employees of Prime
 Clerk caused the following document to be served by First Class Mail on the Supplemental
 Service List attached hereto as Exhibit A:
 1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification number are
 as follows: SunEdison, Inc. (5767); SunEdison DG, LLC (N/A); SUNE Wind Holdings, Inc. (2144); SUNE Hawaii
 Solar Holdings, LLC (0994); First Wind Solar Portfolio, LLC (5014); First Wind California Holdings, LLC (7697);
 SunEdison Holdings Corporation (8669); SunEdison Utility Holdings, Inc. (6443); SunEdison International, Inc.
 (4551); SUNE ML 1, LLC (3132); MEMC Pasadena, Inc. (5238); Solaicx (1969); SunEdison Contracting, LLC
 (3819); NVT, LLC (5370); NVT Licenses, LLC (5445); Team-Solar, Inc. (7782); SunEdison Canada, LLC (6287);
 Enflex Corporation (5515); Fotowatio Renewable Ventures, Inc. (1788); Silver Ridge Power Holdings, LLC (5886);
 SunEdison International, LLC (1567); Sun Edison LLC (1450); SunEdison Products Singapore Pte. Ltd. (7373);
 SunEdison Residential Services, LLC (5787); PVT Solar, Inc. (3308); SEV Merger Sub Inc. (N/A); Sunflower
 Renewable Holdings 1, LLC (6273); Blue Sky West Capital, LLC (7962); First Wind Oakfield Portfolio, LLC (3711);
 First Wind Panhandle Holdings III, LLC (4238); DSP Renewables, LLC (5513); Hancock Renewables Holdings, LLC
 (N/A); Everstream HoldCo Fund I, LLC (9564); Buckthorn Renewables Holdings, LLC (7616); Greenmountain Wind
 Holdings, LLC (N/A); Rattlesnake Flat Holdings, LLC (N/A); Somerset Wind Holdings, LLC (N/A); SunE Waiawa
 Holdings, LLC (9757); SunE MN Development, LLC (8669); SunE MN Development Holdings, LLC (5388); SunE
 Minnesota Holdings, LLC (8926); TerraForm Private Holdings LLC (5993); SunEdison Products, LLC (3557);
 Hudson Energy Solar Corporation (1344); SunE REIT-D PR, LLC (2171); First Wind Energy, LLC (5519); First
 Wind Holdings, LLC (4445); Vaughn Wind, LLC (9605); Maine Wind Holdings, LLC (4825); SunEdison
 International Construction, LLC (6257); and EchoFirst Finance Co., LLC (1607). The address of the Debtors’
 corporate headquarters is Two CityPlace Drive, 2nd Floor, St. Louis, Missouri, 63141.
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                                    Exhibit A
                                           16-10992-smb          Doc 5631           Filed 11/21/18 Entered 11/21/18 11:07:56             Main Document
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                                                                                                   Exhibit A
                                                                                            Supplemental Service List
                                                                                            Served via First Class Mail
                    MMLID                                       DESCRIPTION                              ADDRESS 1                CITY           STATE         POSTAL CODE
2933383                                       Global Power Gas & Electric LLC              2290 10th Ave N, Ste 202       Lake Worth       FL            33461-6609
2552423                                       Global Power Gas & Electric LLC-NVT          208 N Orem Blvd                Orem             UT            84057
2554628                                       Hart Tech LLC                                12291 Bentwood Farms Drive     Pickerington     OH            43147-8369
2561382                                       SunFusion Solar Electric, Inc-EFF            9020 Kenamar Dr. Suite 204     San Diego        CA            92121




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